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                                                               United States of America
                                                      FEDERAL TRADE COMMISSION
                                                               Washington, DC 20580
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               Division of Advertising Practices
                  Edward Glennon                                                                         ELH 1 ;.~O'.\ICALLY FILED
               202-326-3126; eglennon@ftc.gov
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                                                                               April 26, 2022            DAT! :LED:             'f/
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 a::                Hon. Louis L. StMon, U.S.D.J.
 c::,               United States District Court
 ~                  Southern District of New York
 ;===:              500 Pearl Street
 LU                 New York, NY 10007
c::::,
                    RE:        FTC, et al, v. Quincy Bioscience Holding Co,, Inc., et al. (17-CV-00124-LLS)
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tr.···--
       .....        Dear Judge Stanton:
e,_,,._.

                            Plaintiffs, the Federal Trade Commission ("FTC") and the People of the State of New
                    York by Letitia James, Attorney General of the State of New York ("NYAG") (collectively,
                    "Plaintiffs") respectfully request that the Court enter the deadlines below to exchange proposed
                    trial exhibit lists and complete briefing for the two summary judgment motions and a request to
                    file under seal that are currently pending before the Court. Defendants have consented to all of
                    the requested deadlines.

                             This letter constitutes the first request to modify the schedule for the submission of
                     pretrial materials set out in the Court's order of November 23, 2021 (Dkt No. 192) ("Pretrial
                     Order"). This also is the first request for additional time to submit briefs related to Defendants'
                     motion for summary judgment and request for sealing, both filed on April 14, 2022 (Dkt Nos.
                     219 and 220). The NY AG, with Defendants' consent, previously requested additional time for
                     opposition and reply briefs for Mark Underwood's motion for partial summary judgment (Dkt
                     No. 210). The Court granted that request on March 30, 2022 (Dkt No. 216).

                               The parties have agreed to the following deadlines:

                                •         Parties shall exchange proposed exhibit lists (paragraph 4 of the Pretrial Order) by
                                          April 28, 2022.

                                •         The NYAG's opposition to Mr. Underwood's motion for partial summary
                                          judgment (Dkt No. 210) is due by May 6, 2022.

                                •         Plaintiffs' oppositions to Defendants' April 14, 2022 motion for summary
                                          judgment (Dkt No. 220) and request to file under seal (Dkt No. 219) are due by
                                          June 16, 2022.

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The Honorable Louis L. Stanton                                             April 26, 2022
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       •       Mr. Underwood's reply to the NYAG's opposition to partial summary judgment
               is due by June 23, 2022.

       •       Defendants' replies in support of their April 14, 2022 motion for summary
               judgment (0kt No. 220) and request to file under seal (0kt No. 219) are due by
               July 8, 2022.

       The parties continue to negotiate the deadlines for paragraphs 5-9 of the Pretrial Order
and will seek the Court's approval for any additional modifications.


                                                     Respectfully,

                                                     Isl Edward Glennon
                                                     Edward Glennon
                                                     Federal Trade Commission

                                                     Isl Kate Matuschak
                                                     Kate Matuschak
                                                     New York State Office of the
                                                     Attorney General

cc: All parties via ECF
